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 1                             UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3 JOSE DECASTRO,                                         Case No.: 2:23-cv-00580-APG-EJY

 4          Plaintiff                                                    Order

 5 v.

 6 LAS VEGAS METROPOLITAN POLICE
     DEPARTMENT, et al.,
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            Defendants
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           On April 5, 2024, plaintiff Jose DeCastro was advised by the court that his claims against
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   defendant State of Nevada would be dismissed without prejudice unless by May 5, 2024,
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   DeCastro either filed proper proof of service or showed good cause why such service was not
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   timely made. DeCastro has failed to do so.
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           I THEREFORE ORDER that plaintiff Jose DeCastro’s claims against defendant State of
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   Nevada are DISMISSED without prejudice. The clerk of court is instructed to terminate the
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   State of Nevada as a defendant in this case.
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           DATED this 13th day of May, 2024.
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                                                        ANDREW P. GORDON
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                                                        UNITED STATES DISTRICT JUDGE
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